                       UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF OHIO
                               WESTERN DIVISION


                                             *       Case No. 16-31009 jpg
  In re:
                                             *       Chapter 13
  RONALD L. JOAN, II
  KATHRYN E. JOAN                            *       JUDGE JOHN P. GUSTAFSON

  Chapter 13 Debtors                         *       NOTICE OF TRUSTEE’S
                                                     INABILITY TO MAKE CONDUIT
                                             *       PAYMENT (COURT CLAIM 18)



           The Standing Chapter 13 Trustee did not receive an amount of money sufficient

  to disburse the November 2017 conduit mortgage payment in the above captioned case to

  New Penn Financial LLC, dba Shellpoint Mortgage Servicing, Court Claim No. 18. The

  Trustee shall issue a Motion to Dismiss if the Plan is not brought current within thirty

  (30) days.

           Further, the mortgage holder may proceed to seek appropriate remedies as

  allowed by the Bankruptcy Code and the Court.


                                                 Respectfully submitted,



                                                 /s/ Elizabeth A. Vaughan______________
                                                 Elizabeth A. Vaughan
                                                 Standing Chapter 13 Trustee
                                                 316 N. Michigan St., Suite 501
                                                 Toledo OH 43604




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                                    CERTIFICATION

  I certify that on November 17, 2017, a true and correct copy of the Notice of Trustee’s
  Inability to Make Conduit Payment(s) was served:

  Via the court’s Electronic Case Filing System on these entities and individuals who are
  listed on the court’s Electronic Mail Notice List:

         Marc E. Dann, on behalf of Debtors, at mdann@dannlaw.com

         United States Trustee at ustp.region09@usdoj.gov

  And by regular U.S. mail, postage prepaid, on:

         Ronald L. Joan, II
         Kathryn E. Joan
         403 Center Drive
         Upper Sandusky, OH 43351
         Debtors

         New Penn Financial LLC
         d/b/a Shellpoint Mortgage Servicing
         P.O. Box 10675
         Greenville, SC 29603-0675
         On behalf of Mortgage Holder




                                               /s/ Elizabeth A. Vaughan_________
                                               Elizabeth A. Vaughan
                                               Standing Chapter 13 Trustee




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